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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLORADO

GARY GEISERT,                    ) Case No.
                                 )
Plaintiff,                       ) COMPLAINT FOR
                                 )   1. VIOLATION OF FEDERAL
       vs.                       )       FAIR DEBT COLLECTION
                                 )       PRACTICES ACT, AND
MEDICREDIT, INC.,                )   2. TELEPHONE CONSUMER
                                 )       PROTECTION ACT
Defendant.                       )
________________________________ )

                             I. INTRODUCTION
      1. This is an action for damages brought by an individual consumer for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.

§1692, et seq. (hereinafter “FDCPA”), which prohibits debt collectors from

engaging in abusive, deceptive, and unfair practices. Ancillary to the claims

above, Plaintiff further alleges claims for Defendant’s violations of the Telephone

Consumer Protection Act., 47 U.S.C. §227, et seq. (hereinafter “TCPA”).

///



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                              II. JURISDICTION

      2.     Jurisdiction of this Court arises under 15 U.S.C. §1692k (d).

                                III. PARTIES

      3.     Plaintiff, Gary Geisert (“Plaintiff”), is a natural person residing in

Spokane county in the state of Washington, and is a “consumer” as defined by the

FDCPA, 15 U.S.C. §1692a(3). At all relevant times herein, Plaintiff was residing

and received collection calls from Defendant while residing in El Paso County in

the state of Colorado.

      4.     At all relevant times herein, Defendant, MEDICREDIT, INC.,

(“Defendant”) was a company engaged, by use of the mails and telephone, in the

business of collecting a debt from Plaintiff which qualifies as a “debt,” as defined

by 15 U.S.C. §1692a(5). Defendant regularly attempts to collect debts alleged to

be due another, and therefore is a “debt collector” as defined by the FDCPA, 15

U.S.C. §1692a(6).

                         IV. FACTUAL ALLEGATIONS

      5.     At various and multiple times prior to the filing of the instant

complaint, including within the one year preceding the filing of this complaint,

Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.

Defendant often called from phone number 800-242-6813.




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        6.    Beginning in or around April of 2015, Defendant began making a

barrage of calls to Plaintiff.

        7.    Defendant contacted Plaintiff in a manner that would constitute

harassment, annoyance, and abuse.

        8.    Defendant caused Plaintiff’s telephone to ring in a manner that

would constitute harassment.

        9.    On or around July 22, 2015, Plaintiff sent a notice of representation

to Defendant. Defendant has failed to respond at this time.

        10.   Furthermore, during all relevant times, Defendant used an

“automatic telephone dialing system”, as defined by 47 U.S.C. § 227(a)(1), to

place its repeated collection calls to Plaintiff seeking to collect the debt allegedly

owed.

        11.   Defendant’s calls constituted calls that were not for emergency
purposes as defined by 47 U.S.C. § 227(b)(1)(A).


        12.   Defendant’s calls were placed to telephone number assigned to a
cellular telephone service for which Plaintiff incur a charge for incoming calls
pursuant to 47 U.S.C. §227(b)(1).


        13.   During all relevant times, Defendant did not have Plaintiff’s prior
consent to be contacted via an “automated telephone dialing system”.




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      14.      Defendant’s conduct violated the FDCPA in multiple ways,

including but not limited to:

                  a) Causing Plaintiffs telephone to ring repeatedly or
                     continuously with intent to harass, annoy or abuse
                     Plaintiff (§ 1692d(5));

                  b) Communicating with Plaintiff at times or places
                     which were known or should have been known to
                     be inconvenient for Plaintiff (§1692c(a)(1)) ;and

                  c) Engaging in conduct the natural consequence of
                     which is to harass, oppress, or abuse Plaintiff (§
                     1692d)).

      15.      Defendant conduct violated the TCPA by:

            a) using any automatic telephone dialing system or an artificial or pre-
               recorded voice to any telephone number assigned to a paging
               service, cellular telephone service, specialized mobile radio service,
               or other radio common carrier service, or any service for which the
               called party is charged for the call (47 USC §227(b)(A)(iii)).

      16.      As a result of the above violations of the FDCPA and TCPA Plaintiff

suffered and continues to suffer injury to Plaintiff’s feelings, personal

humiliation, embarrassment, mental anguish and emotional distress, and

Defendant is liable to Plaintiff for Plaintiff’s actual damages, statutory damages,

and costs and attorney’s fees.

                     COUNT I: VIOLATION OF FAIR DEBT
                       COLLECTION PRACTICES ACT

      17.      Plaintiff reincorporates by reference all of the preceding paragraphs.



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                           PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays that judgment be entered

against the Defendant for the following:

            A.     Declaratory judgment that Defendant’s conduct

            violated the FDCPA;
            B.     Actual damages;
            C.     Statutory damages;
            D.     Costs and reasonable attorney’s fees; and,
            E.     For such other and further relief as may be just and proper.

            COUNT II: VIOLATION OF TELEPHONE CONSUMER
                             PROTECTION ACT

      18.   Plaintiff reincorporates by reference all of the preceding paragraphs.

      19.   To the extent that Defendant’s actions, counted above, violated the

TCPA, those actions were done knowingly and willfully

                           PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays that judgment be entered

against the Defendant for the following:

            A.     Declaratory judgment that Defendant’s conduct
            violated the TCPA;
            B.     Actual damages;
            C.     Statutory damages for willful and negligent violations;
            D.     Costs and reasonable attorney’s fees,
            E.     For such other and further relief as may be just and proper.



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        PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

          Respectfully submitted this 17th day of February, 2016.

                             By:     s/ Todd M. Friedman
                                     Todd M. Friedman
                                     Law Offices of Todd M. Friedman, P.C.
                                     Attorney for Plaintiff




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